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                                           THE CITY OF NEW YORK
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                                                                   October 9, 2018


       VIA ECF
       The Honorable Lorna G. Schofield
       United States District Judge
       Southern District of New York
       40 Foley Square
       New York, NY 10007


                      Re: Ruben An v. City of New York, 16 Civ. 5381 (LGS)

       Your Honor:

                       I am a Senior Counsel in the office of Zachary W. Carter, Corporation Counsel of
       the City of New York, representing defendant City of New York, in the above-referenced matter.
       I write jointly with plaintiff’s counsel to respectfully request that Your Honor execute the
       parties’ Stipulation and Order of Dismissal with prejudice. In accordance with Your Honor’s
       Individual Rules of Practice, we also enclose the parties’ Stipulation of Settlement.

                      Thank you for your consideration herein.

                                                                   Respectfully submitted,

                                                                        /s/

                                                                   Mark D. Zuckerman
                                                                   Senior Counsel




       cc:     All counsel (ECF)
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